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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE                          Civil Action No. 1:19-cv-01136-APM
 TRUST; and TRUMP OLD POST OFFICE
 LLC,
                             Plaintiffs,

 v.

 MAZARS USA LLP,
                                       Defendant,

 and

 COMMITTEE ON OVERSIGHT AND
 REFORM OF THE U.S. HOUSE OF
 REPRESENTATIVES,
                    Intervenor-Defendant.

        SECOND SUPPLEMENTAL DECLARATION OF WILLIAM S. CONSOVOY
        1.       I am an attorney at the law firm Consovoy McCarthy PLLC and counsel for plaintiff

President Donald J. Trump in his personal capacity.

        2.       I am over the age of eighteen and under no mental disability or impairment. I have

personal knowledge of the following facts and, if called as a witness, would competently testify to

them.

        3.       Exhibit A to this second supplemental declaration is a true and accurate copy of an

April 24, 2019 letter from Ranking Member Jim Jordan to Chairwoman Maxine Waters. As of today,

it can be downloaded from the House Committee on Oversight and Reform’s Minority page at

https://republicans-oversight.house.gov/wp-content/uploads/2019/04/2019-04-24-JDJ-to-MW-

Financial-Services-re-Mazars-MOU.pdf.
            Case 1:19-cv-01136-APM Document 34 Filed 05/17/19 Page 2 of 8



       4.       Exhibit B is a true and accurate copy of a May 15, 2019 letter from Ranking Member

Jordan to Chairman Elijah Cummings. As of today, it can be downloaded from the House Committee

on Oversight and Reform’s Minority page at https://republicans-oversight.house.gov/wp-

content/uploads/2019/05/2019-05-15-JDJ-to-EEC-re-MOU.pdf.


       Per 28 U.S.C. §1746, I declare under penalty of perjury that the above is true and correct to

the best of my knowledge.


       Executed on May 17, 2019.

                                                               s/ William S. Consovoy   wsc




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              Exhibit A
                           Case 1:19-cv-01136-APM
ELIJAH E. CUMMINGS. MARYLAND                         Document
                                             ONE HUNDRED SIXTEENTH34  Filed 05/17/19 Page 4 of 8
                                                                   CONGRESS                                    JIM JORDAN, OHID
           CHAIRMAN                                                                                         RANKING MINORITY MEMBER



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                                           COMMITTEE ON OVERSIGHT AND REFORM
                                              2157   RAYBURN HOUSE OFFICE BUILDING

                                                  WASHINGTON,        DC 20515-6143
                                                          MAJOHI rv (202) 225-5051
                                                          MtNORrTV (202) 225-5074

                                                          http://ove1s1ght.house.gov



                                                         April 24, 2019

           The Honorable Maxine Waters
           Chairwoman
           Committee on Financial Services
           U.S. House of Representatives
           Washington, DC 20515

           Dear Madam Chairwoman:

                    According to news reports, you have issued a number of subpoenas to financial
           institutions, including Capital One Financial Corp. (Capital One), for sensitive personal financial
           records relating to President Donald Trump and his immediate family. 1 The nonpublic
           Memorandum of Understanding (MOU) between you and Oversight Committee Chairman Elijah
           Cummings requires you to share with Chairman Cummings any documents that you may receive
           pursuant to your subpoena. 2 Chairman Cummings, similarly, has subpoenaed private financial
           information from Mazars USA LLP (Mazars), the global accounting firm that served private
           citizen Donald Trump. 3

                   Both your subpoena to Capital One and Chairman Cummings's subpoena to Mazars are
           part of a coordinated and carefully managed campaign to attack the President for political gain, a
           fact that Chairman Cummings has not disputed.4 As such, and in light of your agreement to share
           Capital One material with Chairman Cummings, I write to ask whether you expect to receive
           copies of or access to any documents that Mazars may produce in response to Chairman
           Cummings's subpoena. I look forward to hearing back from you.

                                                              Sincerely,




            1
             See, e.g., Austin Weinstein & Billy House, Democrats Subpoena Nine Banks in Probe a/Trump Finances,
           Bloomberg, Apr. 17, 2019; Andrew Ackerman & Lalita Clozel, House Democrats Subpoenaed Nine Banks in Trump
           Finance Probe, Wall. St.J., Apr. 17,2019.
           2
             Letter from Elijah E. Cummings, Chairman, H. Comm.on Oversight & Refonn, to Jim Jordan, Ranking Member,
           H. Comm. on Oversight & Reform (Apr. 17, 2019); Memorandum of Understanding between Maxine Waters,
           Chairwoman, H. Comm. on Financial Servs., & Elijah E. Cummings, Chairman, H. Comm. on Oversight & Reform
           at 4 ("[T]be Issuing Chair agrees to share information and production with the non-Issuing Chair . ... ").
           3
             Document Production Subpoena to Mazars USA LLP (Apr. 15, 2019).
           4
             Letter from Jim Jordan, Ranking Member, H. Comm. on Oversight & Reform, to Elijah E.Cummings, Chairman,
           H.Comm. on Oversight & Reform (Apr. 17, 2019).
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The Honorable Elijah E. Cummings
April 24, 2019
Page 2

cc:   The Honorable Elijah E. Cummings
      Chairman
      Committee on Oversight and Reform

      The Honorable Patrick McHenry
      Ranking Member
      Committee on Financial Services
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              Exhibit B
                               Case 1:19-cv-01136-APM Document 34 Filed 05/17/19 Page 7 of 8
ELIJAH E. CUMMINGS, MARYLAND                    ONE HUNDRED SIXTEENTH CONGRESS                                   JIM JORDAN. OHIO
           CHAIRMAN                                                                                           RANKING MINORITY MEMBER



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                                             COMMITTEE ON OVERSIGHT AND REFORM
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                                                   WASHINGTON, DC 20515-6143
                                                          MAJORITY (202) 225-5051
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                                                          http;//overs1ght.house.gov



                                                         May 15, 2019

            The Honorable Elijah E. Cummings
            Chairman
            Committee on Oversight and Reform
            2157 Rayburn House Office Building
            Washington, DC 20515

            Dear Chairman Cummings:

                    I write to follow up on my letter, dated April 23, 2019, about the nonpublic Memorandum
            of Understanding (MOU) you executed with Financial Services Chairwoman Maxine Waters to
            investigate President Trump. 1 You have not responded to this letter.

                    You did not consult with Republican Members of the Committee or allow Members to
            consider and debate the terms of your nonpublic MOU before executing it. You did not disclose
            the MOU's existence until after I raised the matter, and you still have not articulated the
            authority that allows you to bind the Committee through an MOU. You also have not released
            the MOU publicly.

                    Your nonpublic MOU is part of a coordinated and carefully managed campaign to use
            congressional oversight to attack the President for political gain. Similar to Chairwoman
            Waters's subpoena to Capital One, you issued a subpoena to Mazars USA LLP (Mazars) for
            eight years of sensitive, personal financial information about President Trump. However, in your
            memorandum supporting your subpoena to Mazars, you cited no specific law or legislative
            proposal for which you require the information to be subpoenaed. 2 In fact, in the weeks since
            your subpoena, you have not aiticulated to the Committee a specific legislative purpose for your
            subpoena. Instead, you apparently seek the President's personal financial information for the
            illegitimate purpose of public disclosure in pursuit of headlines. 3

                    The language of your nonpublic MOU supports a conclusion that you seek the
            President's sensitive, personal financial information to police the President's financial
            transactions dating back to when he was not even a candidate for elective office. The Committee
            is not a substitute for the federal agencies charged with regulating and policing the financial and

             1
              Letter from Jim Jordan, Ranking Member, H. Comm. on Oversight & Reform, to Elijah E. Cummings, Chairman,
            H. Comm. on Oversight & Reform (Apr. 23, 2019).
            2
              See Memorandum for Members of the Committee on Oversight and Reform, Chainnan Cummings's
            Unprecedented Subpoena of Mazars USA LLP (Apr. 15, 2019).
            3
              See Watkins v. United States, 354 U.S. 178 (1957).
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The Honorable Elijah E. Cummings
May 15,2019
Page 2

securities laws. Your MOU cites no federal statute, bill, amendment,or other legislative proposal
for which the information is desired. In fact, the word "legislative " does not appear at all
anywhere in your MOU,while the words "investigate," "investigative," and "investigation"
appear several times.For example:

    •   "The Chairs agree that the Committees' default position will be to cooperate on matters
        of mutual investigative interest ...."4

    e   "The Chairs agree to coordinate on whether subpoenas may be necessary to obtain
        compliance from a recipient in matters of mutual investigative interest. " 5

    •   "To the extent that there are differences between the Committees regarding joint
        investigative efforts, Committee staff will make best efforts to resolve any such
        disagreement. If differences cannot be resolved at the staff level, the Chairs will endeavor
        to resolve matters together." 6

In addition, the preface of your MOU underscores the investigative and policing focus,noting
the "overlapping jurisdictional interest in certain individuals and entities" and "the value of
approaching certain individuals and entities jointly. " 7

       You have sought to avoid public scrutiny of your quest to obtain the President's financial
information. First,you wrote to Mazars in secret to request the President's financial information;
second,you executed a nonpublic MOU to coordinate with Chairwoman Waters; and finally,you
broke your promise to hold a public business meeting to debate a subpoena to Mazars.Your
nonpublic MOU has now become a matter of significant public interest due to your
unprecedented actions.In the interest of promoting the utmost transparency about the
Committee's business,I encourage you to release publicly your MOU with Chairwoman Waters
and any other signed or unsigned MOUs that you have entered into so that the American people
can understand the extent to which you and other Democrat chairpersons are engaged in an
orchestrated effort to attack the President for political gain.

        Thank you for your attention to this matter.




4 Memorandum of Understanding between Maxine Waters, Chairwoman, H. Comm. on Financial Servs., & Elijah E.
Cummings, Chairman, H. Comm. on Oversight & Reform at 1.
5 Id. at 4.
6
  Id. at 11.
7
  Id. at preface.
